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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )
                                               )                   8:05CR212
       vs.                                     )
                                               )                    ORDER
ALICE BUCKLER,                                 )
                                               )
                     Defendant.                )


      This matter is before the court on defendant’s MOTION TO CONTINUE TRIAL [56]. For
good cause shown, and upon the representation that the defendant has executed a waiver of
speedy trial, the motion will be granted.

       IT IS ORDERED that defendant’s Motion [56] is granted, as follows:

       1. Trial of this matter is continued to Tuesday, November 1, 2005.

        2. The ends of justice will be served by granting defendant's motion and outweigh
the interests of the public and the defendant in a speedy trial. Any additional time arising as
a result of the granting of this motion, that is, the time between September 13, 2005 and
November 1, 2005, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act, because counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel and the novelty and
complexity of this case, and the failure to grant additional time might result in a miscarriage
of justice. 18 U.S.C. § 3161(h)(8)(A) & (B)(iv).

       3. Defendant shall file the speedy trial waiver pursuant to NECrimR 12.1 or 12.3(a)
as soon as is practicable.

       DATED September 6, 2005.

                                           BY THE COURT:

                                           s/ F.A. Gossett
                                           United States Magistrate Judge
